 Case1:09-cv-00799-SJJ
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                       -KLM Document      215-19
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                       -KLM Document      215-19
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                       -KLM Document      215-19
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                       -KLM Document      215-19
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Granite v. Alberta (U.S. District Court of Colorado) - Summary of Invoices

   Invoice           Date            Fees               Cost            Total          Status
     10975747     04/14/2009     $      6,477.30    $         -     $      6,477.30       PAID
     10982815      05/11/2009    $    39,479.52     $   1,609.05    $    41,088.57        PAID
    10993023      06/12/2009     $    25,522.95     $     866.90    $    26,389.85        PAID
     11000150     07/09/2009     $    16,623.02     $      169.31   $     16,792.33       PAID
     11010482     08/12/2009     $    33,245.62     $     570.04    $    33,815.66        PAID
      11018175    09/09/2009     $        406.30    $        0.18   $        406.48       PAID
     11018180     09/09/2009     $    39,995.90     $     966.54    $    40,962.44        PAID
      11018185    09/09/2009     $        840.65    $         -     $        840.65       PAID
     11025990     10/08/2009     $    46,422.32     $     525.87    $    46,948.19        PAID
     11037073       11/11/2009   $   24,840.40      $   1,328.89    $    26,169.29        PAID
     11037076       11/11/2009   $    20,419.55     $         -     $    20,419.55        PAID
     11037080       11/11/2009   $      1,742.92    $         -     $      1,742.92       PAID
     11045841      12/11/2009    $    26,604.57     $      414.35   $    27,018.92        PAID
     11045856      12/11/2009    $       1,127.95   $         -     $       1,127.95      PAID
     11045862      12/11/2009    $         181.05   $         -     $         181.05      PAID
      11052391     01/12/2010    $    85,173.40     $   2,202.10    $    87,375.50        PAID
     11052424      01/12/2010    $          30.17   $         -     $          30.17      PAID
     11052436      01/12/2010    $    29,568.10     $         -     $    29,568.10        PAID
     11061048      02/12/2010    $   117,665.92     $   7,458.82    $   125,124.74        PAID
     11061056      02/12/2010    $     94,148.12    $        3.84   $     94,151.96       PAID
     11061078      02/12/2010    $      2,659.65    $         -     $      2,659.65       PAID
      11067197    03/08/2010     $   214,426.52     $   7,539.93    $   221,966.45        PAID
      11067317    03/08/2010     $    29,209.40     $         -     $    29,209.40        PAID
      11067321    03/08/2010     $         181.90   $         -     $         181.90      PAID
     11067325     03/08/2010     $      1,432.67    $         -     $      1,432.67       PAID
      11075185    04/09/2010     $      4,672.45    $       70.76   $      4,743.21       PAID
      11075190    04/09/2010     $      1,405.90    $         -     $      1,405.90       PAID
      11075191    04/09/2010     $      7,492.75    $         -     $      7,492.75       PAID
      11075192    04/09/2010     $     31,931.95    $   4,407.76    $     36,339.71       PAID
     11083128      05/10/2010    $    63,410.85     $    7,217.72   $    70,628.57        PAID
     11083148      05/10/2010    $      8,168.07    $         -     $      8,168.07       PAID
      11083155     05/10/2010    $         710.17   $         -     $         710.17      PAID
     11083162      05/10/2010    $         379.52   $         -     $         379.52      PAID
     11083165      05/10/2010    $         227.37   $         -     $         227.37      PAID
      11083177     05/10/2010    $         657.47   $         -     $         657.47      PAID
     11093316     06/09/2010     $      2,558.92    $   6,825.86    $      9,384.78       PAID
     11093428     06/09/2010     $      1,088.42    $         -     $      1,088.42       PAID
     11093434     06/09/2010     $      3,982.25    $         -     $      3,982.25       PAID
     11093438     06/09/2010     $        904.40    $         -     $        904.40       PAID
      11102102     07/12/2010    $      3,977.57    $         -     $      3,977.57       PAID
      11102107     07/12/2010    $      7,865.05    $   4,705.36    $     12,570.41       PAID
       11102113    07/12/2010    $       5,617.65   $         -     $       5,617.65      PAID
      11109197    08/09/2010     $     33,777.30    $   8,665.20    $    42,442.50        PAID
     11109223     08/09/2010     $    28,693.45     $         -     $    28,693.45        PAID
     11109228     08/09/2010     $        286.87    $         -     $        286.87       PAID
     11109229     08/09/2010     $        202.30    $         -     $        202.30       PAID
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
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   Invoice            Date              Fees               Cost              Total           Status
     11117060       09/09/2010    $       17,454.32    $    4,032.45    $     21,486.77         PAID
      11117077      09/09/2010    $            90.95   $          -     $           90.95       PAID
     11117085       09/09/2010    $            63.75   $          -     $           63.75       PAID
      11117102      09/09/2010    $        4,414.05    $          -     $       4,414.05        PAID
     11127403        10/13/2010   $         4,671.17   $          -     $        4,671.17       PAID
      11127431       10/13/2010   $        5,655.90    $          -     $       5,655.90        PAID
     11136349        11/12/2010   $      43,996.00     $   11,616.45    $     55,612.45         PAID
     11136365        11/12/2010   $        3,432.30    $        14.72   $       3,447.02        PAID
     11136366        11/12/2010   $        3,564.90    $          -     $       3,564.90        PAID
      11145137       12/14/2010   $       (3,387.13)   $    3,554.82    $          167.69       PAID
     11145139        12/14/2010   $        3,584.02    $          -     $       3,584.02        PAID
      11151559       01/12/2011   $        6,248.35    $    3,535.82    $       9,784.17        PAID
      11151566       01/12/2011   $          828.32    $          -     $         828.32        PAID
      11151571       01/12/2011   $        1,881.05    $          -     $       1,881.05        PAID
     11151582        01/12/2011   $           505.75   $          -     $          505.75       PAID
     11158183       02/09/2011    $       15,615.35    $    6,954.14    $     22,569.49         PAID
     11158195       02/09/2011    $       43,164.27    $       146.14   $     43,310.41         PAID
     11158256       02/09/2011    $        3,774.85    $          -     $       3,774.85        PAID
     11163455       02/25/2011    $        4,154.37    $        49.36   $       4,203.73        PAID
     11167414        03/10/2011   $      95,429.07     $    7,648.42    $    103,077.49     PENDING
     11167425        03/10/2011   $        2,473.50    $          -     $       2,473.50        PAID
      11174413       04/12/2011   $        8,815.94    $    5,412.96    $     14,228.90         PAID
     11174420        04/12/2011   $           737.37   $          -     $          737.37       PAID
     11174456        04/12/2011   $           556.75   $          -     $          556.75       PAID
     11184051        05/13/2011   $       12,536.22    $    6,157.68    $     18,693.90         PAID
     11184167        05/13/2011   $       11,907.65    $          -     $      11,907.65        PAID
     11184276        05/13/2011   $        8,829.37    $          -     $       8,829.37        PAID
     11184301        05/13/2011   $           418.20   $          -     $          418.20       PAID
     11192319        06/13/2011   $         1,312.50   $          -     $        1,312.50   PENDING
     11192438        06/13/2011   $        2,419.00    $          -     $       2,419.00    PENDING
                   Total Billed   $ 1,436,925.40       $ 110,778.19     $ 1,547,703.59

                    Total Paid $      1,337,764.83     $   103,129.77   $   1,440,894.60

                 Total Pending $         99,160.57     $    7,648.42    $    106,808.99

                                                        Total Escrow
                                                       Related Fees &
                                                         Expenses
                                                           Billed*      $    635,046.12
                                                        Total Escrow
                                                       Related Fees &
                                                       Expenses Paid    $     528,237.13
                                                        Total Escrow
                                                        Fees & Costs
                                                          Pending       $    106,808.99
*Exclusive of amounts sought in Bill of Costs
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     1:09-cv-00799-SJJ         Document
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     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-19Filed
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                        ADDENDUM C-1
